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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                             )   Civil Action No. 1:24-cv-01702
 Las Americas Immigration Advocacy           )
 Center, et al.,                             )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )
                                             )
 U.S. Department of Homeland Security,       )
 et al.,                                     )
                                             )
              Defendants.                    )
                                             )


         DEFENDANTS’ SECOND SUPPLEMENTAL BRIEF IN SUPPORT OF
             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                       INTRODUCTION

       In this suit, Plaintiffs challenge as unlawful the interim final rule Securing the Border, 89

Fed. Reg. 48,710 (June 7, 2024) (the “IFR”), a subsequent final rule Securing the Border, 89 Fed.

Reg. 81,156 (Oct. 7, 2024) (the “Final Rule”), and guidance relating to the timing of credible fear

screening interviews. See generally 2d Am. Compl., ECF 56. The IFR and Final Rule (collectively,

“the Rule”) adopted a bar to asylum eligibility for those who enter the United States during times

when encounters between ports of entry are above thresholds specified by two Proclamations:

Securing the Border, 89 Fed. Reg. 48,487 (June 7, 2024), and Amending Proclamation 10773, 89

Fed. Reg. 80,351 (Oct. 2, 2024). Under the Proclamations, during such “emergency border

circumstances,” the “entry of any noncitizen into the United States across the southern border” is

“suspended and limited,” subject to exceptions, including an exception for aliens who present at a

port of entry at a pre-scheduled time and place, which were previously scheduled through the CBP

One mobile application.1 Id. at 48,491. Those who enter during such temporary periods and do not

meet one of the exceptions in the Rule or Proclamation are ineligible for asylum. See 8 C.F.R.

§§ 208.35(a), 1208.35(a). The goal of this asylum-eligibility bar is to “disincentivize irregular

migration,” especially during periods of high encounters, 89 Fed. Reg. at 48,754, and encourage

aliens to wait to approach the border until such circumstances have abated, 89 Fed. Reg. at 81,172.

       On January 20, 2025, to address this nation’s broken immigration system and the ongoing

crisis at the southern border, President Trump issued an Executive Order entitled “Securing Our

Borders” that instructs the Secretary of Homeland Security to “[c]ease using the ‘CBP One’

application as a method of paroling or facilitating the entry of otherwise inadmissible aliens into




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  Plaintiffs do not challenge the Proclamation’s temporary suspension of entry—only the Rule and
related guidance. See generally 2d Am. Compl., ECF 56.

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the United States.” Executive Order, Securing Our Borders, Sec. 7(a) (Jan. 20, 2025),

https://www.whitehouse.gov/presidential-actions/2025/01/securing-our-borders/ (“Border EO”).

The same day, the Department of Homeland Security (“DHS”) announced: “Effective January 20,

2025, the functionalities of CBP One™ that previously allowed undocumented aliens to submit

advance information and schedule appointments at eight southwest border ports of entry is no

longer available, and existing appointments have been cancelled.” CBP, CBP One™ Mobile

Application   (last      modified   Jan.     21,   2025),   https://www.cbp.gov/about/mobile-apps-

directory/cbpone.

       Plaintiffs claim that, “[t]he elimination of CBP One makes the[] illegality” of the Rule’s

asylum-eligibility bar “all the more clear on both statutory and APA grounds.” Plfs.’ 2d Suppl.

Br., ECF 74 at 1. Plaintiffs are wrong. The Rule’s bar as adopted and justified is lawful and

sufficiently reasoned.

                                             ARGUMENT

       As set forth below and in Defendants’ prior briefing, the asylum-eligibility bar is lawful

and withstands arbitrary-and-capricious review. See, e.g., Defs.’ Mot. Summ. J., ECF 45-1 at 24–

32, 47–48; Defs.’ Reply Supp. Mot. Summ. J., ECF 52 at 4–6, 12–14; Defs.’ Suppl. Br., ECF 62

at 4–11; Defs.’ Suppl. Reply, ECF 67 at 2–5. Importantly, that review is based on the

administrative record “before the [agency] at the time [it] made [its] decision,” Citizens to

Preserve Overton Park v. Volpe, 401 U.S. 402, 420 (1971), abrogated on other grounds by

Califano v. Sanders, 430 U.S. 99 (1977) (emphasis added). It is not based on subsequent events.

To the extent Plaintiffs challenge the termination of the CBP One appointment system as unlawful,




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such a challenge is outside the scope of this lawsuit; Plaintiffs cannot smuggle a challenge to that

new agency action into a suit over provisions adopted by an older rule.2

I.      The Asylum-Eligibility Bar Is Lawful.

        As explained in Defendants’ prior briefs, the bar on asylum eligibility is lawful, see, e.g.,

Defs.’ Mot. Summ. J., ECF 45-1 at 24–32, and Plaintiffs are wrong (Plfs.’ 2d Suppl. Br., ECF 74

at 2) to assert that the legality of the bar rests on the Proclamation’s CBP One appointment

exception. Instead, the Rule’s asylum-eligibility bar is lawful, regardless of such appointment

availability.

        The “text, structure, and history” of the INA make clear that the bar “reflects a lawful

exercise of the Executive’s discretion to promulgate conditions on asylum eligibility.” Defs’ Mot.

Summ. J., ECF 52 at 24, 24–33; Defs’ Reply, ECF 52 at 4-7; see 8 U.S.C. § 1158(b)(2)(C); see

generally 89 Fed. Reg. at 81,168-77 (addressing and rejecting comments that the Rule exceeds the

authority of the Departments or otherwise conflicts with domestic or international law). Those

conditions can properly rest on the burdens at the border caused by large numbers of

undocumented arrivals. And, as also explained multiple times, the asylum-eligibility bar does not

“eliminat[e] the right to seek asylum between ports of entry.” Plfs.’ 2d Suppl. Br., ECF 74 at 2. It

does not bar any alien from seeking asylum as it is only a bar to eligibility. See 8 U.S.C.

§ 1158(b)(2)(C) (allowing for additional bars to eligibility but not to applying). Moreover, the

asylum-eligibility bar does not categorically bar aliens from asylum eligibility based on their entry



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  In their supplemental brief, Plaintiffs discuss only perceived impacts of the end of the CBP One
appointment system on Defendants’ arguments about the lawfulness and reasonableness of the
asylum-eligibility bar. See generally, Pls.’ 2d Suppl. Br., ECF 74. They have thus waived any
argument that the termination of the CBP One appointment system has any impact on Defendants’
arguments about the lawfulness or reasonableness of the manifestation standard, the “reasonable
probability” standard, or the guidance regarding the timing of credible fear interviews and cannot
raise any new arguments in their reply brief on this score.

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between ports of entry. Instead, it attaches ineligibility based on the timing of one’s entry—that is,

if entry is during the “emergency border circumstances” marked by encounter levels triggering the

Proclamation’s suspension and limitation on entry. See 8 C.F.R. §§ 208.35(a)(1), 1208.35(a)(1). It

also includes exceptions for those who establish exceptionally compelling circumstances or certain

family circumstances, regardless of where they enter. See id. §§ 208.35(a)(2)(i) and (c),

1208.35(a)(2)(i) and (c).

       Plaintiffs correctly note, Plfs.’ 2d Suppl. Br., ECF 74 at 2–3, that Defendants pointed to

the availability of CBP One appointments at ports of entry when arguing that the asylum-eligibility

bar does not categorically apply based on manner of entry. But they are wrong that the termination

of the CBP One appointment system undermines Defendants’ arguments on this score. Instead, it

illustrates the soundness of Defendants’ arguments—without CBP One appointments, the primary

exceptions likely available are the Final Rule’s exceptions for exceptionally compelling

circumstances and family unity, both of which are available to aliens regardless of where they

enter along the southern border. See 8 C.F.R. §§ 208.35(a)(2)(i), (e), 1208.35(a)(2)(i), (e).

Accordingly, Plaintiffs are wrong to claim that the termination of the CBP One appointment

system “reinforces the conclusion that the Rule’s asylum bar violates” the statute. Plfs.’ 2d Suppl.

Br., ECF 74 at 3.

       Regardless, as explained in prior briefing, even if the Rule’s temporally based asylum-

eligibility bar were based on manner of entry or included no exceptions at all, it would be lawful.

The INA allows the Attorney General and Secretary to “by regulation establish additional

limitations and conditions, consistent with [the asylum statute], under which an alien shall be

ineligible for asylum.” 8 U.S.C. § 1158(b)(2)(C); see also id. § 1158(d)(5)(B) (“The Attorney

General may provide by regulation for any other conditions or limitations on the consideration of




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an application for asylum not inconsistent with this chapter.”). A time-limited measure to ensure

the continued functioning of the immigration system that encourages aliens to wait until the crisis

abates is consistent with the asylum statute (and is not inconsistent with the chapter it is in). Indeed,

as explained in Defendants’ motion for summary judgment, Defs.’ Mot. Summ. J., ECF 45-1 at

27–31, several provisions of § 1158 underscore the permissibility of the Rule’s focus on relieving

the overburdened immigration system—e.g., the one-year deadline for applying for asylum, 8

U.S.C. § 1158(a)(2)(B), and bar to successive applications, id. § 1158(a)(2)(C). Nothing in the

statute suggests that Congress intended to foreclose the Departments from likewise taking systemic

considerations into account when exercising their discretion to add additional limitations on

eligibility. Indeed, the “ultimate consideration” when determining whether someone warrants a

grant of relief as a matter of discretion is whether granting relief “appears to be in the best interests

of the United States,” Matter of D-A-C-, 27 I. & N. Dec. 575, 578 (BIA 2019), a point Congress

was aware of when it amended the INA to add the ability to create additional limitations in 1996.

See id. (best interests standard preceded 1996 amendments by 20 years); 89 Fed. Reg. at 48,734

(discussing the history of § 1158(b)(2)(C).

        To the extent Plaintiffs respond that the Ninth Circuit’s East Bay decisions should persuade

the Court to hold otherwise, East Bay was wrongly decided. The Ninth Circuit’s holding that

additional asylum limitations must “further[] the purpose” of the existing exceptions by either

targeting threats to the nation or promoting the purpose of the statute’s safe-third-country or firm-

resettlement bars, East Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 977 (9th Cir. 2020), is

irreconcilable with the statute’s meaning and conflicts with its history. Not only has Congress

adopted bars to applying or eligibility that do not further the purposes the Ninth Circuit

identified—e.g., the one-year filing deadline and various criminal bars—but it has recognized the




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broad discretion to add more such bars. See 8 U.S.C. § 1158(b)(2)(C). That approach is also

inconsistent with Trump v. Hawaii, 138 S. Ct. 2392, 2411–12 (2018) (INA’s express provisions

governing entry “did not implicitly foreclose the Executive from imposing tighter restrictions,”

even if restrictions addressed a subject that is “similar” to one that Congress “already touch[ed]

on”). The enumerated asylum bars also do not foreclose imposing further conditions, even if those

conditions address subjects similar to those already in the asylum statute. Indeed, it is notable that

the Supreme Court allowed the rule under consideration in that East Bay decision to go into effect.

See Barr v. East Bay Sanctuary Covenant, 140 S. Ct. 3 (2019) (mem).

II.    The Asylum-Eligibility Bar Withstands Arbitrary-and-Capricious Review.

       At the outset, whether the Rule is arbitrary or capricious is judged not by events that occur

after the agency decision but based on the administrative record “before the [agency] at the time

[it] made [its] decision.” Overton Park, 401 U.S. at 420 (emphasis added). As Defendants

explained in their prior briefing, the Rule is reasonable and withstands arbitrary and capricious

review based on the administrative record. See Defs.’ Mot. Summ. J., ECF 45-1 at 47–48; Defs.’

Reply Supp. Mot. Summ. J., ECF 52 at 12–14; Defs.’ Suppl. Br., ECF 62 at 5–11; Defs.’ Suppl.

Reply, ECF 67 at 2–5.

       Plaintiffs are wrong that the termination of the CBP One appointment system “eviscerates

Defendants’ position that the Rule is not arbitrary and capricious.” Plfs.’ 2d Suppl. Br., ECF 74 at

3. In so arguing, Plaintiffs cite portions of Defendants’ arguments in an apparent attempt to show

that the CBP One appointment exception to the Proclamation’s suspension and limitation on entry

was the Rule’s keystone and that without it, the Rule falls. See id. at 3–5. Not so. Although the

Rule did characterize the CBP One appointment exception as “significant” in the scope of its

application, 89 Fed. Reg. at 81,213, and referred to the appointment system as “critical for

promoting efficient border processing” during emergency border circumstances, including during

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times of historic encounter levels like what took place in 2023 and the first half of 2024, id. at

81,184, the Departments’ reasoning as provided in the Rule does not depend upon its continued

existence and, since it was not part of the Rule, it was always subject to change or elimination as

a matter of discretion, contra Plfs.’ 2d Suppl. Br., ECF 74 at 4–5.

       Rather, the Departments’ rationales for the asylum-eligibility bar rely on (1) the fact that

the bar attaches based on entry during specific emergency periods; (2) the availability of the

exceptions contained in the Rule itself for those able to establish exceptionally compelling

circumstances or specific family circumstances; and (3) the continuing availability of other

protections against removal to persecution and torture. Indeed, the Final Rule explicitly states that

it is “designed to encourage noncitizens to use lawful, safe, and orderly pathways to the United

States during emergency border circumstances or to wait until such circumstances have abated, to

the extent possible.” 89 Fed. Reg. at 81,172 (emphasis added); see also, e.g., 89 Fed. Reg. at 48,733

(similar statement in the IFR). And in the IFR, when discussing the reasonableness of applying the

bar to Mexican nationals because they would have to wait for months for a CBP One appointment

in the country where they are afraid of harm, the Departments reasoned that

               if they are unable to wait in Mexico while scheduling an
               appointment, they may be able to establish an exception to the
               Proclamation or exceptionally compelling circumstances under the
               rule. Even if they are not able to do so, the rule does not preclude
               eligibility for statutory withholding of removal and CAT protection,
               and they will be able to seek such protection.

89 Fed. Reg. 48,738–393; see 89 Fed. Reg. at 81,251 (similar statement in the Final Rule). And

other parts of the Rule similarly focus on the Rule’s exceptionally compelling circumstances and




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 Plaintiffs selectively quote an earlier part of this paragraph discussing CBP One appointment
availability to Mexican nationals but fail to acknowledge the rest of the discussion. See Plfs.’ 2d
Suppl. Br., ECF 74 at 4.

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family unity exceptions and the continuing availability of protection. See id. at 81,206–07

(explaining that for those with disabilities who cannot use the CBP One application, they may

satisfy the exceptionally compelling circumstances exception); id. at 81,215 (explaining reasons

for not including exception for inability to use the CBP One application); id. at 81,214 (discussing

the family unity provisions).

       Notably, the Departments explicitly stated that they “intend[ed] for the limitation on

asylum eligibility to be severable from . . . the Proclamation because the limitation on asylum

eligibility operates independently of th[e] Proclamation, and in the absence of [that] tool[] would

likewise continue to be an important tool for addressing emergency border circumstances at the

southern border.” 89 Fed. Reg. at 81,168; see 8 C.F.R. §§ 208.35(e), 1208.35(e). Additionally,

contrary to Plaintiffs’ selective quotations, see Plfs.’ 2d Suppl. Br. at 4–5, the focus of the Rule,

as Defendants have noted, is on “reducing ‘the number of daily entrants’ and deterring irregular

immigration, rather than encouraging the use of lawful pathways.” Defs.’ Mot. Summ. J., ECF 45-

1 at 51 (quoting 89 Fed. Reg. at 48,732 n.171). That rationale is not undermined by the termination

of the CBP One appointment system.

       Plaintiffs also highlight arguments Defendants made in their supplemental briefs regarding

the Rule’s effect of channeling aliens to lawful pathways and the CBP One appointment system

being a valuable tool that is not a barrier to asylum access, apparently suggesting that these

statements represent the Departments’ rationale for the Rule. See Plfs.’ 2d Suppl. Br., ECF 74 at

3–4 (quoting Defs.’ Suppl. Br., ECF 62 at 6, 9, 11, and Defs.’ Suppl. Reply, ECF 67 at 3, 10). But

as explained above, in the Rule itself the Departments clearly premised its rationale on the need to

decrease encounters along the southern border during emergency border circumstances when

resources are overwhelmed. See, e.g., 89 Fed. Reg. at 48,714 (“The Departments’ ability to refer




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and process noncitizens through expedited removal thus continues to be overwhelmed, creating a

vicious cycle in which the border security and immigration systems cannot deliver timely decisions

and consequences to all the people who are encountered at the [southwest border] and lack a lawful

basis to remain in the United States.”); 89 Fed. Reg. at 81,168 (when explaining the need for the

provisions of the Final Rule to be severable from each other and from provisions of the

Proclamation, stating that “[d]uring emergency border circumstances, the Departments’ abilities

to refer and safely process noncitizens through expedited removal is overwhelmed and prevents

the border security and immigration systems from delivering timely decisions and consequences

to noncitizens arriving at the southern border”). Plaintiffs’ arguments fail to undermine

Defendants’ defense of the Rule or reveal that the Rule’s rationale is arbitrary or capricious.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs arguments in their supplemental brief are unavailing,

and the Court should grant summary judgment to Defendants on all claims.

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Dated: January 30, 2025            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2025, I electronically filed the foregoing document

with the Clerk of the Court for the United States Court of for the District of Columbia by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.



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